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     BEI HOTEL & DAVIDSON
10   HOSPITALITY GROUP
11                              UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                 SAN FRANCISCO DIVISION

14   BENNY WONG, an individual; STEVEN            Case No.
15   BUI, an individual; MARK WOOD, an
     individual; ANA HENRY, an individual;
                                                  DEFENDANTS’ NOTICE OF REMOVAL
16   LIVIA TSO, an individual; ARJUMAN            TO FEDERAL COURT
     QADRI, an individual; YOLANDA GARCIA,
17   an individual; SANDRA REYES, an
     individual; EDITHA YABUT, an individual;
18                                                [San Francisco County Superior Court for the
     GAYLE GELMAN, an individual; JEROME
     ECAL, an individual; JACOB                   State of California, Case No. CGC-21-592824]
19
     GREATHOUSE, an individual; NATASHA
20   BOGARD LAUPATI, an individual;
     DEEPAK MALI, an individual; RAICHEL
21   JESI LOORTHAIYA, an individual,
22               Plaintiffs,
23         v.

24   BEI HOTEL, a California business;
     DAVIDSON HOSPITALITY GROUP,
25   A/K/A DAVIDSON HOTEL COMPANY, a
     limited liability company, and DOES 1
26   through 100, inclusive,
27               Defendants.
28

                                                -1-          DEFENDANTS’ NOTICE OF REMOVAL
                                                                          TO FEDERAL COURT
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 1            TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT
 2   OF CALIFORNIA:
 3            PLEASE TAKE NOTICE that Defendants BEI Hotel1 and Davidson Hospitality Group
 4   (“Davidson”) (collectively, “Defendants”) hereby remove the matter of Benny Wong, et al. v.
 5   BEI Hotel, et al., pending in San Francisco County Superior Court for the State of California,
 6   Case No. CGC-21-592824, to the United States District Court for the Northern District of
 7   California, pursuant to 28 U.S.C. § 1441(a). This Court’s original jurisdiction over this action is
 8   based upon the existence of a federal question pursuant to 28 U.S.C. § 1331. Plaintiffs bring
 9   claims that are completely preempted by the Employee Retirement Income Security Act of 1974
10   (ERISA) and by the Labor Management Relations Act (LMRA), conferring this Court with
11   subject matter jurisdiction.
12            In support of this removal, Defendants state the following:
13       I.   PLEADINGS TO DATE AND TIMELY REMOVAL OF THE COMPLAINT
14            1.       On June 14, 2021, Plaintiffs Benny Wong, Steven Bui, Mark Wood, Ana Henry,
15   Livia Tso, Arjuman Qadri, Yolanda Garcia, Sandra Reyes, Editha Yabut, Gayle Gelman, Jerome
16   Ecal, Jacob Greathouse, Natasha Bogard Laupati, Deepak Mali, and Raichel Jesi Loorthaiya
17   (collectively “Plaintiffs”), filed a complaint (“Complaint”) against Defendants in the San
18   Francisco County Superior Court for the State of California (“State Court”). See Exhibit A to the
19   Declaration of Ellen M. Bronchetti in Support of Notice of Removal (“Bronchetti Decl.”), p. 1 of
20   Complaint.
21            2.       On July 14, 2021, Plaintiffs served Defendant BEI Hotel with the Summons and
22   Complaint. Attached as Exhibit A to the Bronchetti Decl. are true and correct copies of the
23

24

25   1
        Com Howard I LLC owns the BEI Hotel, and Davidson operates the BEI Hotel and employs
26   its staff. There is no such legal entity as “BEI Hotel.” For purposes of this Notice of Removal,
     Com Howard I LLC and Defendant Davidson will file the Notice as “BEI Hotel” and “Davidson
27   Hospitality Group,” because those are the current Defendants to this lawsuit. By filing this
     Notice of Removal, Com Howard I LLC and Davidson do not waive any arguments that they are
28   not proper Defendants to the claims in this lawsuit.

                                                     -2-          DEFENDANTS’ NOTICE OF REMOVAL
                                                                               TO FEDERAL COURT
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 1   Summons and Complaint, comprising all documents that were filed or served in this case in State
 2   Court. Bronchetti Decl. Ex. A.
 3          3.       Plaintiffs have not yet served Defendant Davidson with the Summons and
 4   Complaint.
 5          4.       Plaintiffs’ Complaint alleges 9 claims against Defendants: (1)
 6   Embezzlement/Misappropriation of Funds; (2) Negligence; (3) Negligent Misrepresentation; (4)
 7   Intentional Misrepresentation; (5) Breach of Fiduciary Duty; (6) Violation of California Labor
 8   Code §§ 227, 227.5; (7) Violations of Business and Professions Code § 17200; (8) Conversion;
 9   and (9) Constructive Trust.
10          5.       The Complaint does not expressly enumerate any claim under federal law, but
11   Plaintiffs allege that they were entitled to receive benefits under the Western Conference of
12   Teamsters Pension Trust Fund (the “Pension Fund”), an “employee benefit plan as defined by
13   the Employment [sic] Retirement Income Security Act” and that Defendants failed to pay those
14   benefits. See Complaint (“Compl.”) ¶¶ 26, 41.
15          6.       This action is currently pending in San Francisco County Superior Court for the
16   State of California. Therefore, venue in this District Court is proper pursuant to 28 U.S.C. §
17   84(a), 28 U.S.C. § 1391, and LR 3-2(d).
18          7.       Defendant BEI Hotel was served with the Complaint and Summons on July 14,
19   2021. This Notice of Removal is timely filed in that it has been filed thirty (30) says after service
20   of the Summons and Complaint on BEI Hotel, as required by 28 U.S.C. § 1446(b). See Murphy
21   Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347–48 (1999) (holding that “a named
22   defendant’s time to remove is triggered by simultaneous service of the summons and
23   complaint”).
24    II.   SUBJECT MATTER JURISDICTION – FEDERAL QUESTION
25          8.       This Court has original jurisdiction under 28 U.S.C. § 1331, and this case may be
26   removed pursuant to the provisions of 28 U.S.C. § 1441(a), in that it is a civil action that presents
27   a federal question. Plaintiff’s claims are completely preempted by ERISA or the LMRA,
28   conferring this Court with subject matter jurisdiction. To the extent some of Plaintiff’s claims

                                                      -3-          DEFENDANTS’ NOTICE OF REMOVAL
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 1   are not preempted by ERISA or the LMRA and therefore do not raise federal questions, those
 2   claims are removable under 28 U.S.C. § 1441(c) pursuant to this Court’s supplemental
 3   jurisdiction.
 4                 a. This Court Has Original Jurisdiction Under ERISA
 5           9.       Plaintiffs allege that Defendants failed to “make contributions” to the Pension
 6   Fund and “distribute” those contributions into Plaintiffs’ “individual pension accounts” as
 7   required by the terms of a collective bargaining agreement (CBA) between Defendant BEI Hotel
 8   and Plaintiffs. Compl. ¶¶ 26-27. As a result of this failure, Plaintiffs allege that Defendants are
 9   liable for embezzlement (Count I); negligence (Count II); negligent misrepresentation (Count
10   III); fraudulent misrepresentation (Count IV); breach of fiduciary duty (Count V); violations of
11   California Labor Code §§ 227, 227.5 (Count VI); violations of California Business and
12   Professions Code § 17200 (Count VII); conversion (Count VIII); and a constructive trust (Count
13   IX).
14           10.      Plaintiffs’ claims could have been brought under the “exclusive remedial scheme”
15 found in ERISA § 502(a) and there is no “other independent legal duty” implicated by

16 Defendants’ alleged actions. Aetna Health Inc. v. Davila, 542 U.S. 200, 207 (2004); Fossen v.

17 Blue Cross & Blue Shield of Montana, Inc., 660 F.3d 1102, 1107 (9th Cir. 2011). Therefore,

18 ERISA completely preempts Plaintiffs’ claims and this Court has subject matter jurisdiction over

19 those claims. Marin Gen. Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941, 944 (9th

20 Cir.2009) (preemption under ERISA § 502(a) also confers federal subject matter jurisdiction for

21 claims that nominally arise under state law).

22           11.      Ordinarily, determining whether a case arises under federal law and vests the
23 court with jurisdiction pursuant to 28 U.S.C. § 1331 turns on the “ ‘well-pleaded complaint’ ”

24 rule. Franchise Tax Bd. of Cal. v. Construction Laborers Vacation Trust for Southern Cal., 463

25   U.S. 1, 9–10 (1983). Whether the case presents a federal question “must be determined from
26   what necessarily appears in the plaintiff’s statement of his own claim” and must not depend on
27   the anticipation of “defenses which it is thought the defendant may interpose.” Davila, 542 U.S.
28   at 207 (citing Taylor v. Anderson, 234 U.S. 74, 75–76 (1914)).

                                                      -4-          DEFENDANTS’ NOTICE OF REMOVAL
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 1          12.     However, “when a federal statute wholly displaces the state law cause of action
 2   through complete pre-emption,” the court is vested with subject matter jurisdiction and the state
 3   claim can be removed. Id. (citing Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 8 (2003)). This
 4   is so because a claim that is completely preempted by federal law “is in reality based on federal
 5   law,” even if “pleaded in terms of state law.” Id.
 6          13.     ERISA is one of these statutes. ERISA’s “comprehensive legislative scheme”
 7   includes “an integrated system of procedures for enforcement.” Id. at 208 (citing Massachusetts
 8   Mut. Life Ins. Co. v. Russell, 473 U.S. 134, 147 (1985) (internal quotation marks omitted)). This
 9   “integrated enforcement mechanism,” ERISA § 502(a), 29 U.S.C. § 1132(a), includes private
10   rights of action and enforcement actions that can be brought by the United States Department of
11   Labor and is “a distinctive feature of ERISA” that is “essential to accomplish Congress’ purpose
12   of creating a comprehensive statute for the regulation of employee benefit plans.” Id.
13          14.     ERISA § 502(a) has “extraordinary preemptive power” that “converts an ordinary
14   state common law complaint into one stating a federal claim for purposes of the well-pleaded
15   complaint rule.” Id. at 207-08 (citing Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 65–66
16   (1987). Therefore, “causes of action within the scope of the civil enforcement provisions of §
17   502(a)” are completely preempted and “[are] removable to federal court.” Id.
18          15.     A state law claim is completely preempted by ERISA § 502(a) if (1) “an
19   individual, at some point in time, could have brought the claim under ERISA § 502(a),” and (2)
20   “there is no other independent legal duty that is implicated by a defendant’s actions.” Marin
21   Gen., 581 F.3d at 946 (citing Davila, 542 U.S. at 210).
22          16.     ERISA § 502(a)(1)(B) includes a cause of action by which a “participant or
23   beneficiary” may file suit “to recover benefits due to him under the terms of his plan, to enforce
24   his rights under the terms of the plan, or to clarify his rights to future benefits under the terms of
25   the plan.” 29 U.S.C. § 1132(a)(1)(B). In other words, if a participant or beneficiary of an ERISA
26   benefit plan believes that “benefits promised to him…are not provided,” this “straightforward”
27   cause of action permits the participant to sue under ERISA to recover those benefits. Davila, 542
28   U.S. at 210.

                                                      -5-           DEFENDANTS’ NOTICE OF REMOVAL
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 1          17.     Plaintiffs could have brought this lawsuit under ERISA § 502(a)(1)(B). They
 2   allege they are participants in the Pension Fund, a pension plan governed by ERISA. Compl. ¶¶
 3   26, 41. They allege Defendants failed to provide benefits due to them under the terms of the
 4   Pension Fund, as stated in the CBA, by failing to making contributions as required. Compl. ¶¶
 5   26-27. As such, Plaintiffs could have brought suit under ERISA § 502(a)(1)(B) to recover the
 6   benefits they believe they are entitled to.
 7          18.     Additionally, even though Plaintiffs bring their lawsuit under a variety of state
 8   law causes of action, none of those causes of action confer “an independent legal duty” on
 9   Defendants that is separate and distinct from their legal duty to provide pension benefits under
10   the terms of the Pension Fund via the CBA.
11          19.     As an initial matter, to determine whether there is an independent legal duty on
12   Defendants, this Court should not focus on the particular labels a plaintiff uses in his or her
13   Complaint. Davila, 542 U.S. at 214-15. Indeed, a plaintiff cannot “obtain relief by dressing up
14   an ERISA benefits claim in the garb of a state law tort.” Dishman v. UNUM Life Ins. Co. of Am.,
15   269 F.3d 974, 983 (9th Cir. 2001). Even though Plaintiffs have not specifically pleaded an
16   ERISA claim, their characterization of their claims has no bearing on whether Defendants
17   actually owed them an independent legal duty separate from those under ERISA.
18          20.     Moreover, liability for the state law causes of action “would exist only because
19   of” Defendants’ contributions to an ERISA-regulated benefit plan. Id. As such, Defendants’
20   alleged liability for these state law causes of action “derives entirely from the particular rights
21   and obligations established by” the Pension Fund via the CBA, and Plaintiffs have failed to
22   allege Defendants owed them any other independent legal duty. Id. Specifically, each of
23   Plaintiffs’ claims hinges entirely on plan rights (as established by the CBA) as specifically set
24   forth in subparagraphs (a) through (i) below:
25                  (a)     For Plaintiffs’ embezzlement claim brought in Count I, Plaintiffs allege
26
     that Defendants’ alleged failure to make contributions “was carried out as part of a deliberate and
27
     systematic scheme of wrongful misappropriation…of [Plaintiffs’] pension fund contributions.”
28

                                                      -6-           DEFENDANTS’ NOTICE OF REMOVAL
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 1   Compl. ¶ 48. Liability for Count I therefore hinges entirely on whether Defendants made
 2   contributions as required under the terms of the ERISA-based Pension Fund via the CBA.
 3
                    (b)     For Plaintiffs’ negligence claim brought in Count II, Plaintiffs allege that
 4
     Defendants owed them a duty to “distribute contributions from the Pension Fund to [Plaintiffs’]
 5
     Pension Account” and that Defendants did not provide reasonable care to Plaintiffs when they
 6

 7   failed to act consistent with that duty. Compl. ¶¶ 52-54. Liability for Count II therefore hinges

 8   entirely on whether Defendants made contributions as required under the terms of the ERISA-

 9   based Pension Fund via the CBA.
10
                    (c)     For Plaintiffs’ negligent misrepresentation claim brought in Count III,
11
     Plaintiffs allege that Defendants made misrepresentations in order to “induce [Plaintiffs] to think
12
     that their pension contributions were not being misdirected and were managed properly.”
13
     Compl. ¶¶ 58. As damages, Plaintiffs allege they were “deprived of contributions to their
14

15   Pension Accounts as required by the Pension Fund.” Compl. ¶ 62. In other words, they seek the

16   payment of their benefits. Liability for Count III therefore hinges entirely on whether
17   Defendants made contributions as required under the terms of the ERISA-based Pension Fund
18
     via the CBA or whether they “misdirected” those payments and made Plaintiffs believe
19
     otherwise.
20
                    (d)     For Plaintiffs’ intentional misrepresentation claim brought in Count IV,
21

22   Plaintiffs allege that Defendants made “false” and “fraudulent” statements for the purpose of

23   “converting, misappropriating, and taking control of the pension contributions” they were

24   required to make to the Pension Fund. Compl. ¶¶ 64, 69. As damages, Plaintiffs allege that
25   “Defendants have still not contributed [Plaintiffs’] pension funds into their respective Pension
26
     Accounts,” and seek the amount of those contributions. Compl. ¶ 73. In other words, they seek
27
     the payment of their benefits. Liability for Count IV therefore hinges entirely on whether
28

                                                     -7-          DEFENDANTS’ NOTICE OF REMOVAL
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 1   Defendants made contributions as required under the terms of the ERISA-based Pension Fund
 2   via the CBA or whether Defendants “converted, misappropriated, or took control” those
 3
     payments.
 4
                    (e)     For Plaintiffs’ breach of fiduciary duty claim brought in Count V,
 5
     Plaintiffs allege that Defendants “are in a fiduciary relationship with [Plaintiffs] because
 6

 7   Defendants’ role it to administer and allocated the specified funds” for Pension Fund

 8   contributions into Plaintiffs’ “respective Pension Accounts.” Compl. ¶ 76. Plaintiffs allege

 9   Defendants breached this fiduciary obligation when they failed to make the contributions as
10
     required. Liability for Count V therefore hinges entirely on whether Defendants made
11
     contributions as required under the terms of the ERISA-based Pension Fund via the CBA.2
12
                    (f)     For Plaintiffs’ claim based on violations of California Labor Code §§ 227,
13
     227.5, brought in Count VI, Plaintiffs allege that Defendants “were responsible for making
14

15   payments to the Pension Fund pursuant to the terms of the CBA” and violated the California

16   Labor Code when they “willfully failed to make the requisite pension payments.” Compl. ¶¶ 86-
17   87, 89. Liability for Count VI hinges entirely on whether Defendants made contributions as
18
     required under the terms of the ERISA-based Pension Fund via the CBA.
19
                    (g)     For Plaintiffs’ claim based on violations of the California Business and
20
     Professions Code § 17200, brought in Count VII, Plaintiffs allege that Defendants engaged in
21

22   unfair business practices by “requiring its employees to perform labor services without

23

24   2
       To the extent that Plaintiffs’ claim in Count V is properly characterized as a claim for breach
     of the fiduciary duties set forth in ERISA, which could be brought under ERISA § 502(a)(3)
25   instead of ERISA § 502(a)(1)(B), see CIGNA Corp. v. Amara, 563 U.S. 421, 438 (2011)
26   (describing differences between claims for benefits under ERISA § 502(a)(1)(B) and claims for
     “appropriate equitable relief,” including claims involving breach of fiduciary duties, under
27   ERISA § 502(a)(3)), that claim is also preempted. See, e.g., Almont Ambulatory Surgery Ctr.,
     LLC v. UnitedHealth Grp., Inc., 121 F. Supp. 3d 950, 967 (C.D. Cal. 2015) (analyzing complete
28   preemption under ERISA § 502(a)(3)).

                                                      -8-          DEFENDANTS’ NOTICE OF REMOVAL
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 1   distributing their pension fund benefits.” Compl. ¶ 98. Liability for Count VII hinges entirely
 2   on whether Defendants made contributions as required under the terms of the ERISA-based
 3
     Pension Fund via the CBA. If Defendants made contributions as required, there will be no unfair
 4
     business practice as Plaintiffs allege.
 5
                     (h)    For Plaintiffs’ conversion claim brought in Count VIII, Plaintiffs allege
 6

 7   that they are the “rightful owners of all value and equity in their Pension Fund” contributions,

 8   but that Defendants carried out a “deliberate and systematic scheme of wrongful

 9   misappropriation and conversion of [Plaintiffs’] pension fund contributions” when they failed to
10
     pay them. Liability for Count VIII therefore hinges entirely on whether Defendants made
11
     contributions as required under the terms of the ERISA-based Pension Fund via the CBA.
12
                     (i)    For Plaintiffs’ constructive trust claim brought in Count IX, Plaintiffs
13
     allege that “Defendants continue to hold their pension fund contributions improperly” and
14

15 request that “a constructive trust be imposed on the outstanding pension fund contributions

16 owed.” Compl. ¶ 107. In other words, they seek the payment of their benefits. Liability for

17 Count IX therefore hinges entirely on whether Defendants made contributions as required under

18
     the terms of the ERISA-based Pension Fund via the CBA or whether Defendants “continue to
19
     improperly withhold them.”
20

21          21.      It is clear that Plaintiffs complain “only about denials of coverage promised under

22   the terms of [an] ERISA-regulated employee benefit plan.” Davila, 542 U.S. at 213. They bring

23   suit “only to rectify” that “wrongful denial of coverage” and do not attempt to remedy “any

24   violation of a legal duty independent of ERISA.” Id. Their state law causes of action therefore

25   fall “within the scope of” ERISA § 502(a)(1)(B), are completely preempted by ERISA § 502(a),

26   and are removable to federal court. Id.

27                b. This Court Has Original Jurisdiction Under the LMRA

28

                                                     -9-          DEFENDANTS’ NOTICE OF REMOVAL
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 1          22.     In addition to ERISA, this case is removable based on the LMRA as well.
 2   Plaintiffs allege that Defendants failed to “make contributions” to the Pension Fund and
 3   “distribute” those contributions into Plaintiffs’ “individual pension accounts” as required by the
 4   terms of the CBA between Defendant BEI Hotel and Plaintiffs. Compl. ¶¶ 26-27. As a result of
 5   this failure, Plaintiffs allege that Defendants are liable for embezzlement (Count I); negligence
 6   (Count II); negligent misrepresentation (Count III); fraudulent misrepresentation (Count IV);
 7   breach of fiduciary duty (Count V); violations of California Labor Code §§ 227, 227.5 (Count
 8   VI); violations of California Business and Professions Code § 17200 (Count VII); conversion
 9   (Count VIII); and a constructive trust (Count IX).
10          23.     Plaintiffs’ claims require the interpretation of a collective bargaining agreement
11   and are therefore preempted by § 301 of the LMRA. See Lingle v. Norge Division of Magic
12   Chef, Inc., 486 U.S. 399, 405-406 (1988) (“if the resolution of a state-law claim depends upon
13   the meaning of a collective-bargaining agreement, the application of state law . . . is pre-
14   empted”).
15          24.     Under § 301, “[s]uits for violation of contracts between an employer and a labor
16   organization representing employees in an industry affecting commerce . . . may be brought in a
17   district court for the United States having jurisdiction of the parties without regard to the amount
18   in controversy or without regard to the citizenship of the parties.” Firestone v. Southern Calif.
19   Gas Co., 219 F.3d 1063, 1065 (9th Cir. 2000).
20          25.     Section 301 of the LMRA provides a basis for federal jurisdiction, and authorizes
21   federal courts to develop a federal common law of CBA interpretation. Lingle, 486 U.S. at 411.
22   To ensure uniform interpretations of collective bargaining agreements, federal common law
23   preempts the use of state law in collective bargaining agreement interpretation and enforcement.
24   Lucas Flour Co., 369 U.S. at 103-04; Lingle, 486 U.S. at 411.
25          26.     Section 301 preempts California state law claims that are substantially dependent
26   upon interpretation of a CBA. Firestone, 219 F.3d at 1066-67 (claim preempted by § 301 where
27   the CBA had to be interpreted to resolve the plaintiff’s wage claims). Plaintiffs do not
28   specifically refer to § 301 or bring a claim under § 301, but that does not preclude removal.

                                                     -10-          DEFENDANTS’ NOTICE OF REMOVAL
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 1   When completely preempted by § 301, state law claims that are properly “re-characterized” as
 2   federal claims due to complete preemption are “convert[ed]” into federal claims “for purposes of
 3   the well-pleaded complaint rule” and are removable to federal court. Caterpillar Inc. v.
 4   Williams, 482 U.S. 386, 393 (1987).
 5          27.      As discussed in Paragraphs 20(a) through (i) supra, this Court will necessarily
 6 need to interpret the relevant provisions of the CBA—specifically those sections setting forth

 7 Defendants’ obligations regarding contributions to the Pension Fund—in order to resolve

 8 Plaintiffs’ state law claims. None of Plaintiffs’ claims can be adjudicated without interpretation

 9 of these CBA provisions.

10          28.      Accordingly, Plaintiffs’ claims are substantially dependent upon the interpretation
11 of the relevant CBA terms and provisions. In fact, the terms and provisions regarding

12   Defendants’ alleged obligations to contribute to the Pension Fund govern nearly all of the
13   conduct which form the basis for Plaintiffs’ Complaint and thus are essential to the resolution of
14   their claims. As such, all of Plaintiffs’ claims arise under § 301 of the LMRA, are therefore
15   preempted by federal law, and are removable to this Court.
16                c. To the Extent Any State Law Claims Are Not Preempted, This Court Can
17                   Exercise its Supplemental Jurisdiction
            29.      To the extent certain of Plaintiffs’ claims do not raise federal questions because
18
     they are not completely preempted by ERISA or § 301 of the LMRA, these claims are
19
     nevertheless removable under 28 U.S.C. § 1441(c) and, pursuant to this Court’s supplemental
20
     jurisdiction, under 28 U.S.C. § 1367. These supplemental claims (if any) relate to and emanate
21
     from the same employment relationship between Plaintiffs and Defendants and subsequent
22
     alleged failure to pay benefits that is the subject of the federal question claims.
23
            30.      This Court has jurisdiction over such state law claims pursuant to the doctrine of
24
     supplemental jurisdiction under 28 U.S.C. §1367(a). They are so related to the federal claims as
25
     to form part of the same case or controversy under Article III of the U.S. Constitution, and they
26
     are substantially related to and rise out of the same nucleus of operative facts as Plaintiffs’ claims
27
     arising under ERISA or the LMRA such as they should be tried in one action. See Nishimoto v.
28

                                                      -11-          DEFENDANTS’ NOTICE OF REMOVAL
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 1   Federman-Bachrach & Assoc., 903 F.2d 709, 714 (9th Cir. 1990); see also Fossen v. Blue Cross
 2   & Blue Shield of Montana, Inc., 660 F.3d 1102, 1113 (9th Cir. 2011) (noting that district court
 3   was correct to exercise supplemental jurisdiction over state law claims that were not preempted
 4   by ERISA because they were “so related to the claims in the action with original jurisdiction that
 5   they form part of the same case or controversy”).
 6          31.     Considerations of convenience, judicial economy, and fairness to the litigants
 7   strongly favor this Court exercising jurisdiction over all claims in the Complaint as well. See
 8   United Mine Workers v. Gibbs, 383 U.S. 715, 725-26 (1966).
 9   III.   JOINDER AND CONSENT
10          32.     Defendant Davidson has not yet been served with a Summons or the Complaint,
11   but nevertheless consents to this removal action.3 Plaintiffs also bring suit against “Does 1-
12 through 100.” Compl. ¶ 19. Defendants are not aware of any of the Doe defendants having been

13 identified and served with a Summons and the Complaint. The requirements of 28 U.S.C. §

14 1446(b)(2)(A) are therefore met.

15   IV.    NOTICE OF REMOVAL
16          33.     In accordance with 28 U.S.C. § 1446(d), Defendants will provide written notice of
17 the filing of this Notice of Removal to counsel of record for Plaintiffs, and Defendants will file a

18 Notice of Filing of Notice of Removal contemporaneously with the Clerk of the State Court.

19          34.     In accordance with 28 U.S.C. § 1446(a), Defendants have attached as Exhibit A
20 true and correct copies of all “process, pleadings, and orders” from the State Court action served

21 on Defendants, including the Complaint and Summons.

22          WHEREFORE, Defendants hereby remove this action from the Superior Court of the
23 State of California, County of San Francisco, to the United States District Court for the Northern

24 District of California.

25

26   3
     By consenting to removal, BEI Hotel and Davidson do not waive their rights to later contest
27 that service was proper. Defendants expressly reserve all rights to challenge the propriety of
   service on a Rule 12 motion or in any other motions or filings in which propriety of service is
28 relevant.

                                                    -12-          DEFENDANTS’ NOTICE OF REMOVAL
                                                                               TO FEDERAL COURT
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 1
     Dated: August 13, 2021                     MCDERMOTT WILL & EMERY LLP
 2

 3                                     By:   /s/ Ellen M. Bronchetti
                                             ELLEN M. BRONCHETTI
 4                                           J. CHRISTIAN NEMETH
                                             Attorney for Defendants
 5                                           BEI HOTEL & DAVIDSON
                                             HOSPITALITY GROUP
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                                                                  TO FEDERAL COURT
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 1                                        PROOF OF SERVICE
 2          I, Karen D. Davis, declare:

 3          I am a citizen of the United States and employed in San Francisco County, California. I

 4   am over the age of eighteen years and not a party to the within-entitled action. My business

 5   address is 415 Mission Street, Suite 5600, San Francisco, California 94105. On August 13,

 6   2021, I served a copy of the within document(s):

 7          DEFENDANT’S NOTICE OF REMOVAL TO FEDERAL COURT
 8

 9            Marcy Y. Lazo
              K&L LAW GROUP, P.C.
10            2616 Dupont Drive, Suite 60340
              Irvine, California 92612
11            Tel: 949-216-4000
              Fax: 800-596-0370
12

13
            I am readily familiar with the firm's practice of collection and processing correspondence
14
     via Federal Express delivery. Under that practice it would be deposited with the Federal Express
15
     Delivery Service on that same day with delivery fee thereon fully prepaid in the ordinary course
16
     of business.
17
            I declare that I am employed in the office of a member of the bar of this court at whose
18
     direction the service was made.
19
            Executed on August 13, 2021, at San Francisco, California.
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                                                        Karen D. Davis
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                                                   -14-          DEFENDANTS’ NOTICE OF REMOVAL
                                                                              TO FEDERAL COURT
